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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
BAGLY, et al.,                       )
                                     )
      Plaintiffs,                    )
                                     )
v.                                   ) C.A. No. 20-cv-11297-PBS
                                     )
U.S. DEPARTMENT OF HEALTH            )
AND HUMAN SERVICES, et al.           )
                                     )
      Defendants.                    )
____________________________________)

                  REPORT ON STATUS OF PROPOSED RULEMAKING
       Pursuant to this Court’s Order, ECF No. 114, Defendants submit this report on the status

of the proposed rulemaking. The United States Department of Health and Human Services

(“HHS”) Office for Civil Rights published a proposed rule implementing Section 1557 of the

Affordable Care Act in the Federal Register on August 4, 2022. Nondiscrimination in Health

Programs and Activities, 87 Fed. Reg. 47,824 (Aug. 4, 2022). HHS is moving as quickly as

possible to consider the more than 85,000 comments submitted on the proposed rule and to issue

a final rule that addresses those comments and the many complex issues covered by the

rulemaking.

       It is difficult for HHS to predict with accuracy the time period for finalizing the rule given

the multiple levels of intra and inter-agency review required, as well as the potential for unforeseen

circumstances to interfere with the agency’s plans. Nonetheless, HHS aspires to submit the rule

to the Office of Information and Regulatory Affairs for final clearance before the end of this

calendar year and to issue a final rule not later than this winter.




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Dated: November 30, 2023                          Respectfully submitted,

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